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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 SONNY M. DAVIS,

         Plaintiff,

         v.                                          Case No. 3:17-CV-4 JD

 DR LIAW,

         Defendant.

                                              ORDER

        On October 21, 2021, this Court granted Mr. Davis’s request for appointment of counsel

and agreed to attempt to recruit pro bono counsel on his behalf. (DE 218.) One lawyer has agreed

to volunteer his time to work on this case:

                               Michael J. Hays
                               Tuesley Hall Konopa, LLP
                               212 E. LaSalle Ave., Suite 100
                               South Bend, IN 46617

Once Attorney Hays has filed his appearance, he will submit all filings on Mr. Davis’s

behalf and the Clerk will no longer send Mr. Davis copies of court filings. This means that

this will be the last order that Mr. Davis receives directly from this Court. Mr. Hays will

be in contact with Mr. Davis and if Mr. Davis has any questions, he should contact Mr.

Hays.

        The Clerk is DIRECTED to send a copy of this order to Michael Hays, as well as

Sonny Davis and defense counsel. Additionally, Mr. Hays is DIRECTED to enter his

appearance in this case and then file a status report with the Court within 60 days indicating

how he would like to proceed.

        SO ORDERED.
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   ENTERED: November 5, 2021

                                              /s/ JON E. DEGUILIO
                                       Chief Judge
                                       United States District Court




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